                  Case 1:10-cv-00110-RFC-CSO Document 2 Filed 09/10/10 Page 1 of 2

AO 440 (Rev. lliQ9) Sutntnons in a Civil .i\clion


                                         UNITED STATES DISTRICT COURT
                                                                   for the
                                                    District of Montana, Billings Division

                            Jesse Brown
                                                                      )
                                                                      )
                                Plaintiff

                                                                                                     c..~ ~O - \ to- SUA-«FC-00
                                                                      )
                                   v.                                 )       Civil Action No.
   Mattingly Testing Services, Inc. (MTS), a Montana                  )
    _ _ _ _~B::::u=siness COrpOrati()J1._ _ _ __                      )
                               Defendant                             )


                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant's twine and address) Mattingly Testing Services, Inc.
                                    Comer Zoo Drive and Shilo Road
                                    P.O. Box 30316
                                    Billings, MT 59102




          A lawsuit has heen filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Robert L. Stephens, Jr.
                                 Southside Law Center
                                 P.O. Box 1438
                                 Billings, MT 59103-1438



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion 'With the court.



                                                                                CLERK OF COURT

                                                                                 ;1
                                                                             L-y~........  . . . . .._._. _..__.._.. .
                                                                                      Sf a e of Clerk or Deputy Clerk
                                                                                      I

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·   "

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AO 44(1 (Rev. 12/09) Summons in i.!. Civil Action (Page 2)

 Civil Action No.

                                                        PROOF OF SERVlL'E
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

            This summOnS for (name "filldividual and title, if any)
 was received by me on (dale)


            o   I personally served the sununons on the individual at (place)
                                                                                              ~~~~-~~-




                                                                                              on (dale)                                    ; or
                                   ~~~~~~~~~~~                              ..............­                --~.--




            o   I left the summons at the individual's residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
            on (date)                                  , and mailed a copy to the individual's Tast known address; or
                         ~-.~~~~~




            o   I served the summons on (name ofindividualj
                                                                          ~~~~-                ...   --~~-           ....   ~~~"-"'~~
                                                                                                                                                      ,who is
            designated by law to accept service of process On behalf of (name aforganization)
                                                                          ~~~~~ on (dale) - - - - - - - -                                  ; or

            o   I returned the summons unexecuted because                                                                                   ~-      ...........
                                                                                                                                                                  ; or

            o   Other (specifY):




            My fees are $                              for travel and $                        for services, for a total of $                     0.00
                                       ~---                               -------

            I declare under penalty of perjury that this information is true.



    Date:                                                                                                                      .........   -~     ... - ­
                                                                                                      Server's signature



                                                                                                     Printed name and title




                                                                                                       Server's address

    Additional information regarding attempted service, etc:
